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12 James Mitchell and
13 Deborah Mitchell
14                     IN THE UNITED STATES DISTRICT COURT
15                            FOR THE DISTRICT OF ARIZONA
16
17 James Mitchell, et al.,                   Case No.: 2:17-cv-02459-DLR

18                  Plaintiffs,              Hon. Douglas L. Rayes
19
          vs.
20                                           STIPULATION FOR
21 Granite Creditors Service                 DISMISSAL WITH
   Incorporated, et al.,                     PREJUDICE
22
23
                    Defendants.
24
25
           Plaintiffs and Defendants Granite Creditors Service, Incorporated and Steven A.
26
27 Wright (hereinafter referred to as “Defendants”) a, through counsel undersigned and
28
                                              1
       Case 2:17-cv-02459-DLR Document 29 Filed 04/25/18 Page 2 of 4



1 pursuant to Rule 41(a)(1)(A)(ii), hereby stipulate that the above-captioned action may
2
  be dismissed with prejudice against Defendants, with each party to bear its own
3
4 attorneys’ fees and costs, in accordance with the form of dismissal order filed
5 concurrently herewith.
6
        DATED this 25th day of April, 2018
7
8                                                KENT LAW OFFICES
9
10                                               By: /s/ Trinette G. Kent
11                                               Trinette G. Kent
                                                 Attorney for Plaintiff
12
13
14                                               CARLSON & MESSER LLP
15
16
17                                                /s/ J. Grace Felipe w/ consent
                                                 J. Grace Felipe
18                                               David J. Kaminski
19                                               Attorney for Defendants
                                                 (admitted pro hac vice)
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